       Case 2:13-cr-00378-JAM Document 47 Filed 02/13/15 Page 1 of 3


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3    Tel: (916) 498-9871
4
     Attorney for Defendant
5    LILLIAN MARQUEZ
6
7                             IN THE UNITED STATES DISTRICT COURT
8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                   )   Case No. CR.S. 13-378-JAM
                                                 )
11                               Plaintiff,      )   STIPULATION AND [PROPOSED] ORDER
                                                 )   RE; CONTINUANCE OF STATUS
12   V.                                          )   CONFERENCE AND FINDINGS OF
                                                 )   EXCLUDABLE TIME
13   LILLIAN MARQUEZ                             )
          aka Lillian Yamileth Guevara, and      )   Date: April 14, 2015
14                                               )   Time: 9:15 a.m.
     MICHAEL KEATTS,                             )   Judge: Hon. JOHN A. MENDEZ
15                                               )
                                 Defendants.
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17
             It is hereby stipulated and agreed to by the United States of America through PHILIP A.
18
19   FERRARI, Assistant United States Attorney, LILLIAN MARQUEZ, by and through her

20   counsel, DENNIS S. WAKS, and MICHAEL KEATTS, by and through his counsel, HECTOR
21   A. CAVAZOS, JR., that the status conference set for February 17, 2015, be continued to a status
22
     conference on Tuesday, April 14, 2015, at 9:15 a.m. This continuance is being requested
23
     because defense counsel needs additional time to prepare, to review discovery, and to continue
24
     interviewing witnesses. Counsel has received over 33,000 pages of discovery involving over 23
25
26   different residential real properties in Stockton and Manteca and we will need additional time to

27   read the discovery and go over it with our clients.
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       Case 2:13-cr-00378-JAM Document 47 Filed 02/13/15 Page 2 of 3


1           Furthermore, the parties stipulate and agree that the interest of justice served by granting
2    this continuance outweigh the best interest of the public and the defendants in a speedy trial.
3
     (18 U.S.C. §3161(h)(7)(A)). Speedy trial time is to be excluded from the date of this order
4
     through the date of the status conference set for April 14, 2015, pursuant to 18 U.S.C. § 3161
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     (h)(7)(B)(iv) [reasonable time to prepare] (Local Code T4).
6
7    DATED: February 12, 2015                      Respectfully submitted,

8
                                                   /s/ Dennis S. Waks
9
                                                   DENNIS S. WAKS
10                                                 Attorney for Defendant
                                                   LILLIAN MARQUEZ
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12
13   DATED: February 12, 2015                      /s/ Dennis S. Waks for
14                                                 HECTOR A. CAVAZOS, JR.
                                                   Attorney for Defendant
15                                                 MICHAEL KEATTS
16
17   DATED; February 12, 2015                      BENJAMIN B. WAGNER
                                                   United States Attorney
18
19                                                 /s/ Dennis S. Waks for
20                                                 PHILIP A. FERRARI
                                                   Assistant U.S. Attorney
21
22                                               ORDER
23
24       Based on the stipulation of the parties and good cause appearing, the Court hereby finds that
25   the failure to grant a continuance in this case would deny defense counsel reasonable time
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     necessary for effective preparation, taking into account the exercise of due diligence. The Court
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     specifically finds that the ends of justice served by the granting of such continuance outweigh the
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       Case 2:13-cr-00378-JAM Document 47 Filed 02/13/15 Page 3 of 3


1    interests of the public and the defendants in a speedy trial. Based on these findings and pursuant
2    to the stipulation of the parties, the Court hereby adopts the stipulation of the parties in its
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     entirety as its Order. Time is excluded from computation of time within which the trial of this
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     matter must be commenced beginning from the date of the stipulation through and including
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     April 14, 2015, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time for defense
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     counsel to prepare] and Local Code T4. A new status conference date is hereby set for April 14,
7
8    2015, at 9:15 a.m.

9
     DATED: 2/12/2015                                        /s/ John A. Mendez____________
10                                                           JOHN A. MENDEZ
                                                             United States District Court Judge
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